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                           Exhibit A
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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                                                )
IN RE: NEW ENGLAND COMPOUNDING                                  )
PHARMACY, INC. PRODUCTS LIABILITY                               )
                                                                  MDL No. 1:13-md-2419-RWZ
LITIGATION                                                      )
                                                                )
This Document Relates to:                                       )
      All Cases                                                 )
                                                                )

         ORDER LIMITING DISCOVERY AND STAYING THESE PROCEEDINGS
        WITH RESPECT TO NECC INSIDERS AND RELATED SETTLING PARTIES

          Paul D. Moore, the chapter 11 trustee (the “Trustee”) of New England Compounding

 Pharmacy, Inc. d/b/a New England Compounding Center (“NECC”), has entered into three

 settlement agreements (the “Settlements”) resolving potential claims against various parties in

 exchange for, among other things, substantial contributions of assets and cash to the NECC

 bankruptcy estate. The Settlements have been approved in NECC’s pending chapter 11 case by

 the United States Bankruptcy Court for the District of Massachusetts.

          In accordance with the Settlements, the Trustee filed his Motion for Entry of an Order

 Limiting Discovery and Staying These Proceedings with Respect to NECC Insiders and Related

 Settling Parties (the “Motion”), and memorandum in support thereof (the “Memorandum”),

 seeking to stay these MDL proceedings, and limit discovery therein, with respect to (i) those

 parties defined in the Plan Support and Funding Agreement dated May 2, 2014 executed by the

 Trustee and certain insiders of NECC (the “Insiders Settlement Agreement”) as “Contributors”1

 and as “Contributor and Affiliate Released Parties” 2 (collectively, the “Insider Settling Parties”),


 1
     The “Contributors” are Barry Cadden, Lisa Cadden, Carla Conigliaro and Gregory Conigliaro.
 2
     The “Contributor and Affiliate Released Parties” are the Contributors and each of their
                                                                              (Continued…)


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(ii) NECC’s affiliated landlord, GDC Properties Management, LLC (“GDC”), and (iii) their

respective insurers, Preferred Mutual Insurance Company, Pharmacists Mutual Insurance

Company, and Maxum Indemnity Company, who have settled with the Trustee in the pending

chapter 11 case (collectively, the “Settling Insurers,” and together with the Insider Settling

Parties and GDC, the “Settling Parties”). Both the Official Committee of Unsecured Creditors

appointed in NECC’s chapter 11 case and the Plaintiffs’ Steering Committee appointed in these

MDL proceedings are in favor of the terms of the Insiders Settlement Agreement, including the

relief requested by the Trustee in the Motion, as indicated by their execution of the Addendum to

Plan Support and Funding Agreement dated May 2, 2014. After due deliberation and sufficient

cause appearing therefor, and all objections to the Motion having been withdrawn or overruled,

this Court has determined that the requested stay of these MDL proceedings, and limitation of

discovery, with respect to the Settling Parties is warranted.

        Accordingly, it is hereby

        1.      ORDERED that the Motion is GRANTED; and it is further

        2.      ORDERED that these MDL proceedings are stayed, effective immediately, with

respect to the Settling Parties; and it is further

        3.      ORDERED that such stay shall remain in effect through the earlier of (a) the Plan

Effective Date, as that term is defined in the Insiders Settlement Agreement or (b) termination of

the Insiders Settlement Agreement pursuant to Section 11 thereof; and it is further


(Continued…)

respective spouses, children, parents, and other nuclear family members of each Contributor, all
trusts under which the Contributors or their spouses or family members are settlors, trustees, or
beneficiaries, the Affiliated Entities, and any other entities in which the Contributors or their
spouse, children or other nuclear family members hold an interest, and those entities’ successors,
assigns, and predecessors.


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          4.    ORDERED that while such stay is in effect, all parties to these MDL proceedings

are prohibited from seeking any form of dispositive relief against the Settling Parties; and it is

further

          5.    ORDERED that while such stay is in effect, all parties to these MDL proceedings

are prohibited from seeking any form of prejudgment security from or against the Insider Settling

Parties or their assets, including, but not limited to, any attachments, injunctions, writs or orders

of any nature; and it is further

          6.    ORDERED that notwithstanding the stay of these MDL proceedings with respect

to the Settling Parties, discovery shall be permitted against the Estate Parties (as defined in the

Insiders Settlement Agreement) and the Insider Settling Parties, but only to the extent the

discovery is relevant to the prosecution, or defense, of claims against defendants other than the

Estate Parties or the Insider Settling Parties; and it is further

          7.    ORDERED that nothing in the Insiders Settlement Agreement, the Motion, the

Memorandum or this Order shall prevent or prohibit a party from objecting to a discovery

request based on any grounds ordinarily available under the Federal Rules of Civil Procedure,

and all parties’ rights in that respect are expressly reserved.




Dated: August __, 2014
       Boston, Massachusetts

                                                        Judge Rya W. Zobel
                                                        United States District Court Judge




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